Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 1 of 102




          EMERGENCY RULE OF THE SCHOOL BOARD OF HILLSBOROUGH COUNTY

            WHEREAS, Article IX, § 1 of the Florida Constitution provides for a uniform, efficient,
    safe, secure, and high-quality system of free education; and

           WHEREAS, To achieve a uniform, efficient, and safe school system, the Florida
    Constitution created school boards (Art. IX); and

            WHEREAS, The Florida Constitution grants the school boards the right to “operate,
    control, and supervise all free public schools.” See Art. IX, § 4 (Fla. Const.); and

            WHEREAS, The School Board of Hillsborough County, Florida (the “School Board”) is a
    duly elected body; and

           WHEREAS, The School Board is responsible for the “proper attention to health, safety,
    and other matters relating to the welfare of students.” Fla. Stat. § 1001.42(8)(a); and

            WHEREAS, The School Board also has supplemental powers to “adopt programs and
    policies to ensure appropriate response in emergency situations.” Fla. Stat. § 1001.43(7); and

           WHEREAS, Hillsborough County Public Schools is the seventh largest school district in
    the United States with approximately 214,920 number of students and approximately 24,596
    number of staff; and

           WHEREAS, The School Board of Hillsborough County values the health, safety, and
    welfare of its students and the district staff; and

           WHEREAS, The Delta variant of COVID-19 has been shown to be highly transmissible;
    and

            WHEREAS, the Governor of Florida issued Executive Order 21-175 which in part directed
    the Florida Department of Health and the Florida Department of Education to immediately execute
    emergency rule to ensure safety protocols for controlling the spread of COVID-19 in schools; and

          WHEREAS, The Florida Department of Health executed Emergency Rule 64DER21-12
    which provides in part “Students may wear masks or facial covering as a mitigation measure;
    however, the school must allow for a parent or legal guardian of the student to opt-out the student
    from wearing a face covering or mask”; and

          WHEREAS, The 2021-2022 school year began on August 10, 2021 in Hillsborough
    County; and

          WHEREAS, As of August 18, 2021 the school district released the following information
    showing 10,384 students in isolation or in quarantine and 338 employees in isolation or quarantine;
    and




                                             EXHIBIT 1
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 2 of 102




           WHEREAS, Based on the large number of quarantines and cases, there was an immediate
    danger to public health, safety, and welfare that required emergency action; and

           WHEREAS, The Chair of the School Board called an Emergency meeting of the School
    Board to immediately address the emergency; and

          WHEREAS, The School Board of Hillsborough County met in Emergency session on
    August 18, 2021; and

          WHEREAS, The School Board of Hillsborough County heard from the Hillsborough
    County Department of Health and medical experts and doctors from Tampa General Hospital; and

           WHEREAS, The Hillsborough County Department of Health provided data about the
    spread of COVID-19 in Hillsborough County that is attached to this Rule as Exhibit A; and

            WHEREAS, The first week of school in August 2020, 51 students and 17 staff reported a
    positive COVID-19 diagnosis; and

            WHEREAS, The first week of school in August 2021, 307 students and 59 staff reported
    a positive COVID-19 diagnosis; and

            WHEREAS, Of the approximately 214,920 number of students within the district, 14.7%
    are under the age of 12, and therefore, not eligible for the vaccine at this time (in addition to other,
    older students, who may not be able to take the vaccine for reasons unrelated to their age); and

            WHEREAS, The doctors and medical experts from Tampa General testified that the
    wearing of masks and vaccines are the most effective tools for controlling the spread of COVID-
    19 in schools; and

            WHEREAS, Vaccination and masks are the most effective practice to mitigate any type of
    transmission in the school setting. Masks protect the wearer and those around them by protecting
    against the transmission of large droplets from child to another.

           WHEREAS, Mask usage is beneficial to keeping children in school for in-person learning
    because when two students both wear masks and one tests positive for COVID-19, this is not
    considered a close contact, thereby eliminating the need for the student who did not test positive
    for COVID-19 to quarantine; and

            WHEREAS, The U.S. Food & Drug Administration (“FDA”) previously stated: “There is
    no adequate, approved, and available alternative to the emergency use of face masks for source
    control by the general public … to help prevent the spread of the virus due to face mask shortages
    during the COVID-19 pandemic”; and

          WHEREAS, The 7-day average positivity rate for COVID-19 in Hillsborough County as
    of August 14 is 21.73%; and




                                                       2
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 3 of 102




           WHEREAS, On August 14, 2020, the 7-day average positivity rate in Hillsborough County
    was 8.65%; and

            WHEREAS, The Re-opening Plan for Hillsborough County Public Schools in the 2020-
    2021 school year approved by the state had a mandatory facial covering requirement with an opt-
    out option for parents with a medical certification (The medical certification form is attached as
    Exhibit B); and

           WHEREAS, The School Board of Hillsborough County adopted the same facial covering
    requirement previously approved by the state during a time when the positivity rate was much
    lower than it is currently (The Districts Reopening Plan for 20-21 is attached as Exhibit C); and

           WHEREAS, The School Board’s mandatory facial covering requirement from the Re-
    opening Plan for Schools in the 2020-2021 approved plan was found to be constitutional. See
    Levonas, et al., v. Hillsborough County School Board, Florida and Superintendent Addison Davis,
    Case No. 20-CA-6542 (Fla. 13th Cir. Ct., Dec. 15, 2020) (The case is attached as Exhibit D); and

            WHEREAS, The district will honor, to the greatest extent possible, the medical exemptions
    of the students who opted out of the facial covering requirement last school year so those parents
    will not have to complete a new form; and

            WHEREAS, The Emergency Rule executed by the Department of Health does not prohibit
    the requirement of a medical certification for opting out; and

            WHEREAS, The Emergency Rule adopted by the School Board of Hillsborough County
    gives the decision opting out of the facial covering requirement to the parent with a medical
    certification; and

          WHEREAS, Masks are not considered medical devices or medical treatment; (See
    Levonas); and

           WHEREAS, The Center for Disease Control (“CDC”) recommends children in schools
    wear facial coverings indoors (The CDC Guidelines are attached as Exhibit E).

         NOW, THEREFORE, THE SCHOOL BOARD OF HILLSBOROUGH COUNTY
    ENACTS THE FOLLOWING EMERGENCY RULE PURSUANT TO SECTION 120.54
    FLORIDA STATUTES:

          I.       Subject to the medical exception below that a parent may choose to utilize to opt-
                   out of this Rule, all individuals, including students, teachers, staff, and employees,
                   shall wear a facial covering that covers both the nose and mouth at all times while
                   at or inside any building, facility, or bus or other vehicle owned, leased, or operated
                   by the School Board.

         II.       Medical Exemption. A face mask will not be required when a face covering would
                   cause an impairment due to an existing health condition (medical certification
                   required). In order for a student to claim an exemption due to an existing health


                                                      3
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 4 of 102




               condition, the district will require medical certification from a licensed health care
               provider that the student has a medical, physical or psychological condition that
               prevents the student from being able to safely wear a face covering, and description
               of the medical reason.

               a.     The Face Covering Medical Exemption Form is attached hereto as Exhibit
                      B.
               b.     Students with an approved exemption from on file from the 2020-2021
                      school year are not required to file a new exemption form for the 2021-2022
                      school year.

       III.    Duration of Emergency Rule. This Emergency Rule was approved by the School
               Board on August 18, 2021, for the thirty-day period commencing on Thursday,
               August 19, 2021 through and including Friday, September 17, 2021.

       IV.     Basis for Emergency Rule. This Emergency Rule is based upon the School
               Board’s findings at the Emergency Session held August 18, 2021, including, but
               not limited to, the number of students and staff in isolation and quarantine, the
               testimony from the doctors and medical experts from Tampa General and Florida
               Department of Health, who testified that the wearing of masks and vaccines are the
               most effective tools for controlling the spread of COVID-19 in schools, and the
               extremely concerning daily increase in students, teachers, and staff testing positive
               with COVID-19 or subject to quarantine.




                                                 4
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 5 of 102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 6 of 102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 7 of 102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 8 of 102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 9 of 102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 10 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 11 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 12 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 13 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 14 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 15 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 16 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 17 of
                                     102
 Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 18 of
                                      102




                                                  2
                                                   BACK


                                                    SCHOOL!
                                                           DRAFT

Hillsborough County Public Schools
Reopening Plan 2020-2021
                                         1
                           2
       Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 19 of
                                            102


                                           Table of Contents

                                      BACK
School Board of Hillsborough County . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 2

Introduction Letter: Addison Davis .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 3

COVID-19 Timeline . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 4

Why Reopening Our Schools Is Critical                                                                          ...........................................................................                                                 7

Guiding Principles for Reopening Schools . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 8

Strategic Reopening of Schools                                                             .......................................................................................                                                         9

Safety First Philosophy .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 10

Student & Staff Experience at a Glance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 11

What Returning to School Will Look Like for Students and Staff                                                                                                                       ..............................                     12

Campus Health and Wellness Protocols . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 14

School-based Employee or Student Positive COVID Results. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 23

Central Office Employee Positive COVID Results . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 24

In-School Contact Tracing System . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 25

COVID Positive Cleaning Protocol .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 26

Reopening Hillsborough County Public Schools                                                                                             .........................................................                                     29

Exceptional Education .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 32

Deciding on an Instructional Model                                                                    ..............................................................................                                                   34

Differences: Traditional Instruction vs. eLearning .. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 35




                                     SCHOOL!
Differences Between: eLearning & Hillsborough Virtual School . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 50

Mental Health Guidance for Reopening                                                                             ........................................................................                                               51

Next Steps                       .........................................................................................................................                                                                             52

                                                                                                                      1
       2
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 20 of
                                     102


          School Board of

           BACK
       Hillsborough County




                   Melissa Snively, Chair, District 4

                   Steve Cona, Vice Chair, District 1

                        Dr. Stacy Hahn, District 2

                         Cindy Stuart, District 3

                    Tamara Shamburger, District 5

                         Karen Perez, District 6




          SCHOOL!
                           Lynn Gray, District 7




                                       2
             2
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 21 of
                                        102




                   BACK
INTRODUCTION:
Superintendent Addison Davis

“The secret of change is to focus all of your energy, not on fighting the old, but on building the new.” Consistent
with modern educational practices influenced by the Greek philosopher Socrates, teaching and learning is an
ever-changing exercise of thought and frustration. It is in the latter that learning truly takes place, and Hillsbor-
ough County Public Schools, like school districts across the country, has certainly experienced these fundamental
truths as we have navigated the challenges of closing out the 2019-20 academic year. However, the opportunity to
rise, to learn from the teaching, is why I share with you this 2020-21 School Reopening Plan.

Reopening schools during a global pandemic is indeed critical to the strength of a society in general, but to the
health of its youth specifically. Without education, our children will be relegated to a future with limitations and
without hope. If our experiences over the past four months has taught us anything, it is the importance of the
relationships that the school and the community share with one another. We are more than just “day care” for
children in the neighborhood; we are the neighborhood and the care that shapes the future.

This School Reopening Plan aims to define clear guidance for how we will open our doors, physically and virtu-
ally, that is aligned with the regulations developed in collaboration with state and national authorities. Our first
commitment is to the students, staff and families we serve. Our priority must be to keep them safe.

The areas outlined in this plan represent major considerations our district is addressing to reopen schools, and
to keep them open as a source of hope and comfort for our district family. Each department has contributed to
the various elements and consulted with local health experts from such places as Tampa General Hospital, USF
Health, and the Hillsborough County Department of Health, as well as large corporation CEOs, local community
groups, teachers, parents, and school administrators. From that consultation, we believe we have found a bal-
ance between doing what’s right for kids, and what’s safe for all.

Of course, as with every plan of this magnitude and under these ever-changing conditions, this document will
remain fluid and change as necessary based on guidance from state agencies and local health experts, as well as
our students, staff and families. We will be ready to act should it be required, knowing that we have been provid-
ed thoughtful counsel and established deliberate actions to protect our stakeholders.

We hope that everyone will review this plan and be a partner in the work. Feedback is always respected and nec-
essary if we are to change together; grow together; build something new and powerful together.

We look forward to the 2020-21 academic year, no matter what challenges it may bring because together we can




                   SCHOOL!
Accelerate Hillsborough!

Sincerely,

Addison G. Davis
Superintendent

                                                          3
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 22 of
                                        102


                   COVID-19 Timeline
                                      Timeline of Events
Hillsborough County Public Schools pivoted with extraordinary success on March 13th, 2020 when the State
Department of Education recommended the closure of schools because of COVID-19 concerns. Since then,
students, staff and families have been flexible while continuing to navigate through this national pandemic and
work toward reopening schools for the 2020-21 school year.

For your review, below is a timeline of events related to school close and our reopening date:




February 27, 2020:
District releases overview of proactive preparations for school campuses to               JANUARY
prevent virus spread                                                                     Preparations Begin


March 1, 2020:
Governor Ron DeSantis announces the first two confirmed cases of COVID-19 in
Florida. The Department of Health declares a public health emergency.

March 2, 2020:
Crews begin installing hand sanitizers at the main entrance of schools, as well       EARLY MARCH
as in all 900+ buses. Flyers distributed across school campuses.                         First Cases Appear

March 6, 2020:
Schools receive first shipments of disinfecting wipes for classroom spot
cleaning.

March 12, 2020:
Out of an abundance of caution, the District closes Farnell Middle School for
two days because a person regularly on Farnell’s campus had recent contact
with someone who tested positive for COVID-19.

March 13, 2020:
The Florida Department of Education gives the directive for all districts in            MID MARCH
Florida to close schools for two weeks due to COVID-19.                                 Closures Announced

March 17, 2020:
The District announces its Grab-and-Go meal distribution in order to provide
nutritious meals for students during school closures.

March 17, 2020:
Governor Ron DeSantis orders all schools in Florida closed until April 15.

                                                          4
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 23 of
                                        102


March 22, 2020:
District unveils hotlines to help students and staff during the school closure,      LATE MARCH
including eLearning support, mental health supports, technology support and          eLearning Announced
general information.

March 23, 2020:
Set up for Success Week begins. This week is created for Hillsborough County
Public Schools in order to familiarize students, families and staff with the new
eLearning process.


March 30, 2020:
eLearning through the Hillsborough County Public Schools eLearning
Contingency Plan begins.


April 18, 2020:
The FLDOE extends school closures and distance learning statewide through
                                                                                          APRIL
                                                                                      Statewide Closures
the end of the school year.


May 29, 2020:
Last day of school for Hillsborough County Public Schools. Students had been
eLearning for 59 days.
                                                                                           MAY
                                                                                      Last Day of School

June 11, 2020:
FLDOE releases guidance on reopening schools for the fall.

June 15, 2020:
                                                                                     EARLY JUNE
                                                                                       Reopening Plans
Phase one of reopening outdoor facilities for athletics and extracurricular
activities begins. Virtual Summer School begins with eLearning as the primary
source of instructional delivery.

June 22, 2020:
District reopens school sites for Summer HOST and VPK.

June 23, 2020:
Superintendent Addison Davis presents his School Reopening Plan to the
School Board during a workshop.
                                                                                      LATE JUNE
                                                                                      Phase II Reopening
June 29, 2020:
Phase two of reopening facilities for athletics and extracurricular activities be-
gins. Locker rooms, weight rooms and indoor courts are now available for use,
while still following FHSAA guidelines.

                                                          5
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 24 of
                                        102


July 1, 2020:
Parents receive Declaration of Intent form to choose what type of learning
model their child will return to in the fall.
                                                                                JULY
                                                                              Parent Choices
July 6, 2020:
The Florida Department of Education issued an Executive Order mandating
five-day-per-week, on-site instruction.

July 15, 2020:
Superintendent Addison Davis announces a two week delay to the start of the
school year.

July 16, 2020:
Superintendent Addison Davis presents Reopening Plan to the School Board at
a workshop.

July 17, 2020:
Parents finalize selections for individual learning models for students.




                                                          6
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 25 of
                                        102


                Why Reopening Our
                 Schools Is Critical
Returning students to the classroom is critical to their educational experience specifically and for reopening our
economy in general. We understand that many parents cannot return to work without schools providing brick-
and-mortar learning for our students. According to the Florida Department of Education, nearly two-thirds of
employed parents in Florida say school closures have hurt their ability to perform their job during this unprece-
dented time.

Additionally, reopening schools is critical for eliminating the achievement gap. The impact of school closures is
disproportionately felt by low income and marginalized students. There is little doubt that this worldwide pan-
demic, and its resulting school closures, have widened and highlighted this achievement gap and is wildly unac-
ceptable. Returning students to brick-and-mortar classrooms is a major step to helping students bridge the gap
and preparing them for jobs that do not even exist today.




                                                                  Nearly 2/3 of employed
      Educational programs
                                                               parents in Florida say school
    are inherently designed for
                                                              closures have hurt their ability
        social development
                                                                   to perform their job



        The impacts of                                           Lower wage workers
      school closures are                                       are caught in-between
    disproportionately felt                                     the forces of business
      by low income and                                           closures & school
    marginalized students                                          campus closures



  COVID-19 will likely widen
 achievement gaps. The new                                      Self-isolation has deep
   subgroup in education is                                     psychological impacts
      students without
    computers & Internet

                                                         7
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 26 of
                                     102



      Guiding Principles for
       Reopening Schools
   Ensure the safety and
   wellness of students
           and staff                                           +
 Deliver high-quality
instruction to students,
 regardless of delivery model


                    Provide
                                                             A            +
parents flexibility and
 choice in instructional
      delivery models
                                                             AB      OR



                                       8
  Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 27 of
                                       102



       Strategic Reopening of
              Schools
Our district invited parents and families into the conversation in our quest
to develop robust instructional models for learners in the fall. Parents made
it clear through our School Reopening Survey that they want choices and
flexibility as our community continues to fight against COVID-19.

This survey was electronically delivered to all families via the Parentlink
system and staff through First Class. Parents were asked their level of
comfort in sending their learner back to school, as well as interest in virtual
learning options.

Parents were split down the middle in our School Reopening Survey, with a
little over half indicating they would be comfortable sending students back
to traditional face-to-face instruction in the fall.

                                                                Comfortable to Return




                                                              52.7              %
 Total Parent responses: 52,883
 28,100 Parents - Comfortable to Very Comfortable
 24,783 Parents - Not Comfortable or Somewhat Uncomfortable




                                                              51.9 %
 Total Staff Responses: 9,245
 4,807 Staff - Comfortable to Very Comfortable
 4,501 Staff - Not Comfortable or Somewhat Uncomfortable


This survey was an integral part of our district’s planning process as we
proactively developed safety protocols for each instructional model. The
survey was important in understanding stakeholders’ attitudes and beliefs
about COVID-19, which will allow the district to better align with stakehold-
ers’ needs and expectations.
                                            9
  Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 28 of
                                       102


      Safety First Philosophy



1. Transportation                              2. Cleaning Stations
                			
                                  		
3. Controlled Movement                         4. Social Distancing
                      				
                      5. Lunch Modifications
                                         10
  Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 29 of
                                       102

 Student & Staff Experience at a Glance




1. Before Arrival			          			             2. Upon Arrival




3. Controlled Campus Movement				                  4. Classroom Modifications




5. Extracurriculars & Athletics     		        6. Cleaning & Sanitizing
                                         11
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 30 of
                                        102


   What Returning to School Will
  Look Like for Students and Staff
At a Glance

Students and staff will return to campuses with increased health and safety measures in order to combat the
effects of COVID-19 in our schools. District leadership has received input from all stakeholders and engaged in
meaningful conversations with health authorities to create a reopening plan with safety and health at the
forefront.

Face Coverings

Face coverings will be required based upon best available data and input from
local health authorities, the School Board, CDC guidelines and stakeholder
groups including teachers and parents. Social distancing is not always possible
in school settings, therefore, students and staff will be provided with reusable
masks and expected to wear them while on campus where social distancing is
not possible and when exemptions do not apply.


Social Distancing

Students will practice social distancing from the arrival on campus through
departure. Students will load on school buses from back to front, increasing
social distancing and limiting exposure to others. Grab-and-go breakfasts will
be available, and where possible eaten in classrooms in order to deter students
from congregating in the lunchroom. Staggered release schedules may be uti-
lized in an effort to decrease crowding


Limited Access to Visitors and Volunteers

It is essential to create a healthy and safe environment by limiting potential
COVID-19 exposure whenever possible. Our district will be limiting access to
visitors and volunteers to appointment only. A request must be made 24 hours
in advance. Administrators will establish protocols for greeting visitors and the
use of screenings and temperature checks.


Additional Hand Sanitation Stations

Each classroom will be outfitted with additional sanitation stations with a
variety of supplies to encourage proper cleaning practices. Each station will in-
clude gloves and disinfectant wipes for spot cleaning, along with hand sanitiz-
er. Students and staff will work together to ensure everyone is contributing to a
healthy environment by wiping surfaces after classroom instruction
is complete.
                                                         12
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 31 of
                                        102

Classroom Modifications

Student desks will be spaced six feet apart when possible. Extraneous furniture
will be removed from each classroom as much as possible for proper social
distancing practices. Administrators will view and approve classroom designs
prior to the start of the school year.


Controlled Movement Patterns

To limit COVID-19 exposure and promote social distancing, students will move
in cohorts where possible throughout the day, utilizing controlled movement
patterns based on signage throughout campus. Staggered dismissal patterns
will be devised, with designated drop-off and pick-up areas for walkers and
bike riders.


Common Area Modifications

Students will be monitored in all common area locations to encourage social
distancing practices. Elective classes and special resource classes such as
Physical Education, Art and Music will adhere to social distancing while limit-
ing collaborative activity and shared resources. Elective coursework will not
include contact sports.


Meal Service

Students will receive meals in a grab-and-go style in the morning and will be
asked to eat in their classrooms when possible. Students will be distanced in
the lunch line and will not be using a pin pad to complete their lunch transac-
tion. Lunch will include pre-packaged items that can be picked up quickly to
reduce time waiting in line. Lunch arrival and dismissal will be staggered.


Mass Gatherings

For the safety of staff and students on campus, pep rallies, assemblies and oth-
er large gatherings will not be permitted until further notice.


Extracurricular Activities and Athletics

Extracurricular activities should be done virtually where feasible. Our district
will follow guidance from the Florida High School Athletics Association to make
a determination on fall sports. Currently, athletes are taking part in outdoor
and indoor workouts in smaller, socially distanced groups while eliminating
shared water bottles and towels.
                                                         13
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 32 of
                                        102

Before and After School Programs

Student-to-staff ratios will be reduced to encourage social distancing. Staff
and students will practice frequent hand washing. Students will be assigned
to small, separate groups with staggered outdoor activity time.




 Campus Health and Wellness Protocols
As students and staff return to face-to-face instruction in the fall, their traditional environment may look different
due to enhanced safety and health protocols. This new normal will require an adjustment for all, but ultimately
these changes will keep health and safety as the top priorities on every campus.

Face Coverings

Superintendent Davis collaborated with local medical authorities to guide decision-making regarding guidelines
to ensure safety for our entire district. After listening to the medical community, along with concerns from par-
ents and staff, the district will require face coverings for students and staff where social distancing is not possible.
According to the CDC, face coverings have been shown to be an effective tool in slowing the spread of COVID-19
in concert with social distancing, hand washing and disinfecting.

  •   Face covering requirements: Students, staff, vendors and visitors will be required to wear face coverings
		    on campus when social distancing is not possible. Students shall wear these face coverings during
		    extracurricular activities, as well as on school buses. Students wearing face coverings from home must be
		    school appropriate and shall not interfere with the district’s dress code policy.

  •   Masks provided: Staff members and students will receive an allotted number of reusable cloth masks
		    from the district on the first day of school to ensure each person on campus is following proper safety
		    precautions. If a staff member or student forgets or loses the mask, a disposable one will be provided
		    for the day.

  •   Enforcement: School administration or staff will be stationed at entry points throughout each campus to
		    remind students to wear face coverings prior to entering campus. In instances where reusable masks are left
		    at home, a disposable mask will be provided for the day. Students who repeatedly do not wear a mask on
		    school grounds will be educated on their importance while faculty will work to use restorative practices to
		    encourage students to utilize a mask. Each school will have a COVID Point Person to work on compliance
		    issues at the school level.

  •   Common areas and classrooms: Students must wear face coverings in each area where social distancing is
		    not possible. This includes a classroom if desks are not spaced at least six feet apart, as well as cafeterias,
		    hallways and other shared spaces. Teachers can work with students to provide designated “mask breaks”
		    during which time students will be socially distanced.

    • Exemptions: Students or staff must have a medical issue for which a face covering would cause an
      impairment. There is also an applicable exemption for students or staff who need to communicate with
      someone who is hearing impaired and needs to see the person’s mouth to communicate.
                                                      14
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 33 of
                                        102

Social Distancing
It is our goal that as we reopen schools and welcome children into a new year of learning, that we mitigate the
health concerns with which we are faced, and focus on providing high-quality instruction and engagement for
every student despite the circumstances. While in theory social distancing is antithetical to modern educational
practices, it is perhaps one of our most important tools in reducing the spread of COVID-19 and it will be included
in each aspect of campus life.

Classroom structure
   • Every classroom will be designed to maximize space and distance between each student. Classroom
     furniture will be rearranged to provide additional space. Administrators will preview and approve classroom
     designs prior to the start of school, and throughout the school year as adjustments are required.




  • Students will be encouraged to take hand-washing breaks throughout the day, in addition to washing
		 hands before and after eating, as well as before sharing materials. Hand soap and paper towels will be
		 provided at every sink. Hand sanitizer will be in each classroom.

  •   Teachers will minimize the use of shared items in the classroom, including learning tools, pencils and other
		    items shared in a group setting. If any group activities occur, students shall wear masks. In all instructional
		    models, students will be provided materials to avoid sharing of items. The site-based administrator will
		    determine site-based procedures that minimize the spread of the virus including minimal transitions and
		    consistent grouping whenever possible. This includes all classroom settings, teacher directed PE, specials,
		    and special education services locations when possible and appropriate.

  •   School administrators will need to establish a way to inventory shared items for each curriculum and see
		    how additional items can be ordered. If additional items are not readily available to the school,
		    consultation with content supervisors will be required. School supply lists will need to be reviewed by
		    school leadership team to avoid hardships on families. SROs will not be enforcing the facial covering
		    mandate.
                                                         15
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 34 of
                                        102


  • Teachers will increase the use of digital instruction where possible to limit the spread of germs in
		 classroom areas.

  • Administrators will create site-based procedures for community restrooms and confined spaces to allow for
		 social distancing and proper hand washing.

  • Signage will be utilized to ensure procedures are listed in these areas. School-based staff will teach and
		 implement these procedures for these areas.




Cafeteria and Lunch Structure
  • All schools will participate in a grab-and-go breakfast program utilizing breakfast carts. Each site will receive
		 6 carts minimum or more based on enrollment. School administrators will establish expectations for break-
		 fast. Plans for inclement weather will be included.

  • Schools will explore in-class meal service options when possible. Elementary plans can include carts
		 located in geographical/grade level locations, including Student Nutrition Staff members delivering
		 grab-and-go breakfast bags for each classroom.

  • During cafeteria orientation, administrators will explain to students that they are not to pass or share any
		 items, including food, with other students.

  • Administrators will ensure tables are labeled to identify seating by class and specialized seating for
		 students with health conditions.

  • Administrators will educate students and post signs on proper entering, exit and disposal of trash
		 procedures.

  • Students will wait in line in a socially distanced manner. They will not use pin pads for lunch transactions;
		 instead Student Nutrition Services staff will key student numbers in.
                                                        16
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 35 of
                                        102
  • Lunches will be scheduled to allow social distancing whenever possible. Students will eat in a designated
		 area daily. Student nutrition services and Administrators will develop a protocol for using outdoor or
		 classroom lunch options. Protocols will include a schedule for increased supervision.

   • Custodial staff will create a schedule to clean tables and classrooms throughout the day.

  • Students will be reminded that the expectation is to wear face covering up to the point of beginning their
		 meal and immediately upon finishing the face cover will be put back on. Any free time/recess after eating
		 commences will require face coverings to be placed back on.

  • Administrators will consider implementing the following seating and movement procedures when
		 possible:

			 ~ Designate areas in the cafeteria for students with underlying health conditions to limit exposure to
				 other students
			 ~ Closing off seats so that students cannot sit opposite of each other and must sit in a zig-zag pattern,
				 leaving space between seats.
			 ~ Avoid seating students near high traffic entry/exit areas.
			 ~ Providing physical guides when possible to ensure that students remain at least six feet apart while
				 moving around in the cafeteria or waiting in line. For example: floor decals, colored tape, or signs to
				 indicate where students should sit or stand can be used to guide students safely.
			 ~ Administrators will establish one entrance and one exit for a designated eating area to help control
				 traffic flow and monitor how many people are allowed in each room.
			 ~ Administrators will create one-way traffic flow for thoroughfares, including cafeteria lines or areas
				 where lines may form, and general foot traffic.




Transportation

  • Students will be encouraged to stay socially distanced while at the bus stop. This must be a joint education
		 effort between families and school personnel.
                                                       17
     Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 36 of
                                          102


  • Students will be socially distanced as much as the physical capacity of the bus allows. Students will load the
		 bus from back to front in order to encourage social distancing throughout the bus ride.

  • School administration, in conjunction with the driver, will establish seating charts with social distancing in
		 mind to the best of their ability.

  • Hand sanitizer stations will be on each bus, and students will be encouraged to use it upon entry and exit.
		 Students will also wear masks while social distancing. Bus drivers will have disposable masks to hand out to
		 students in the event a student does not have his or her mask.

     • Ventilation will be incorporated into the bus along with air conditioning systems.

  • Although the CDC recommends cleaning buses once a day, our district will clean buses twice per day. Bus
		 drivers will wipe down high-touch areas between each run.




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Arrival and Dismissal

  • Schools will establish arrival and dismissal procedures to minimize crowding and transmission of COVID-19, 		
		 including drop-off and pick-up points for walkers and bike riders. Special education students and bus riders
		 will be prioritized to decrease foot traffic.

  • Dismissal procedures will include transition directives and pathways that limit the mixing of cohorts of
		 students. Signage will be provided to remind students and parents of the traffic flow pattern upon entrance
		 and exit of school grounds.

  • Additionally, school-based teams will establish a rainy-day plan. All arrival and dismissal plans will allow for
		 social distancing where possible. Students will be supervised by staff throughout dismissal. Students will
		 always be required to wear their face covering during dismissal.
                                                         18
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 37 of
                                        102


  • Dismissal procedures will include a staggered entrance and exit of the school. Car line will also be staggered
		 for both arrival and dismissal.

  • Schools will clearly message families regarding times when supervision is available and when students are
		 permitted on campus.

  • Administrators will create site-based protocols for all late arrival and early pickup. Parents/guardians picking
		 students up will have to wait in the designated area, with face covering, and student will be escorted to them.




Movement Procedures

  • Students will walk only on the right-hand side of all hallways. Schools will utilize signage on walls to encourage
		 proper movement to limit contact, as well as floor signage to encourage 6-foot distancing where possible.

  • School administration will establish one direction hallways (where available) to assist with the flow of
		 student movement.

  • Staff members will monitor hallways and escort class changes when possible to ensure steady flow of
		 students with no congregation in hallways.

  • In elementary schools, teachers will reduce classroom transitions by rotating classrooms themselves rather
		 than utilizing student rotation.


Access Control

  • All district, school-based staff, vendors, community members, and visitors will be required to sign in with a
		 designated staff member for daily temperature checks.
                                                         19
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 38 of
                                        102


  • Visitors must have prior approval from staff member at least 24 hours prior to visitation on campus.
		 Appointments will be timebound.

   • Administration will determine whether meetings can be held virtually instead of in-person.

  • School administration will establish a wait line system for offices and visitors where inadequate barrier
		 systems might exist. This system should be limited to 2-3 people at a time with socially distancing
		 strictly enforced.

   • All visitors must where face coverings while on campus.




Health and Wellness Processes
Screenings

  • All visitors will be screened via a symptom screening form. School administration will be responsible for
		 cross-training appropriate support staff members to assist in visitor screenings.

  • All employees including HOST members will be required to sign in with a designated staff member every
		 day for temperature checks upon arrival. The school will develop a protocol for staff who exhibit symptoms
		 of COVID-19.

  • Students shall be self-screened at home with parents or guardians to ensure absence of symptoms.
		 Teachers and staff will evaluate students throughout the day, including asking students how they are feeling
		 and observing general wellness.

   • Before entering a school or district building, you should assess your wellness with the following questions:
                                                         20
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 39 of
                                        102


			 – Have you experienced any of these symptoms, not associated with previously diagnosed conditions,
				 in the past 72 hours:
					 ~ Fever greater than 100.4F/chills
					 ~ Cough/shortness of breath
					 ~ New loss of taste or smell
					 ~ Nausea/vomiting/diarrhea
			 – In the last 14 days, have you:
					 ~ Been in close contact with anyone who has been diagnosed with COVID-19
					 ~ Been placed on quarantine for possible contact with COVID-19
					 ~ Traveled abroad to an area of the country where it is recommended that you self-quarantine
					 ~ Have a COVID-19 test pending




Clinic Protocols

Our district is committed to assigning full-time nurses for each school to help create a safe and healthy envi-
ronment. There will be two separate rooms for students with basic first aid situations, and students exhibiting
symptoms of COVID-19. Students exhibiting possible COVID-19 symptoms will be isolated from others within the
clinic area.

Positive COVID-19 Case Confirmation

  • Communication: Upon notification of a positive result, a parent or employee will notify their principal or
		 supervisor, respectively. The principal or supervisor will notify the regional superintendent or assistant
		 superintendent/chief, who will notify the COVID-19 commander. Upon receipt, the COVID-19 Commander
                                                       21
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 40 of
                                        102
		    will communicate details with the Supervisor of School Health Services, Director of Safety and Risk
		    Management, and the Chief of Communications and Media Relations. The Chief of Communications and
		    Media Relations will alert the Superintendent, anyone who has come into direct contact with the positive
		    individual, and the school site.

  • An individual tests positive for COVID-19: Individual should follow the recommendations of their healthcare
		 provider for isolation protocol.

  • Returning to campus: At least 10 days have passed since symptoms appeared; at least 72 hours fever-free
		 without using fever-reducing medication, and all other symptoms have subsided.

  •   Contact tracing: Hillsborough County Public Schools is collaborating with the Department of Health to
		    conduct contact tracing. Upon notification of a positive case on campus, the district’s Department of
		    School Health Services will also communicate with administration to track movement of the person who
		    tested positive and secure affected areas. Impacted individuals will be notified.




                                                       22
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 41 of
                                     102

    School-based Employee or Student
         Positive COVID Results
                       School-based Employee or
                      Student with Positive COVID
                              Test Results



                                  Principal
                                  Informed



                              Contact Regional
                              Superintendent



                               Contact COVID
                                Commander



Contact Supervisor,             Contact Chief            Contact Manager,
   School Health              Communications             Risk Management
      Services                      Ofﬁcer                    & Safety
 • Coordinates                • Informs the              • Determines
   with                         Superintendent             cleaning and
   Department                 • Superintendent             sanitizing
   of Health                    communicates               needs and
 • Initiates                    to Board                   schedule
   In-school                  • Provides letters (2)
   Contact                      to school principal
   Tracing                      regarding direct
                                contact and
                                whole school
                                       23
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 42 of
                                     102

       Central Office Employee Positive
                COVID Results
                        Central Ofﬁce Employee
                          with Positive COVID
                             Test Results



                             Direct Supervisor
                                 Informed



                              Contact Division
                               Chief/Assistant
                              Superintendent



                               Contact COVID
                                Commander



Contact Supervisor,            Contact Chief              Contact Manager,
   School Health             Communications               Risk Management
      Services                     Ofﬁcer                      & Safety
 • Coordinates               • Informs the                • Determines
   with                        Superintendent               cleaning and
   Department                • Superintendent               sanitizing
   of Health                   communicates                 needs and
 • Initiates                   to Board                     schedule
   Contact
   Tracing
                                       24
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 43 of
                                     102

    In-School Contact Tracing System

                                              Student’s information is entered into an In-School Contact
                                              Tracing System. Our Contact Tracing strategy identiﬁes all
Student Suspected/Conﬁrmed                  students connected with the educational programs, activities,
  Positive for Communicable                   and/or services that the student participates in with other
      Disease/ COVID-19                                   students and connections to staff.




                                                                                            Lunch
                                                                                           Schedule
      Magnet /
    Educational
    Programs /
     Vocational
    Share Time
      Outside
      Campus




                                                                                        Extra Curricular
                                                                                           Activities




       Dual
    Enrollment




                                                                         M-DCPS Transportation Routes
                                                                         (If Applicable)
                                                                         ❑ Identiﬁes buses that may impact
    Identiﬁes all             Identify sibling(s) of Student             other grade levels,
     classes and              with Communicable Disease /                      ❑ Elementary
   students in the            COVID-19. In-School Contact                      ❑ Middle School
     classes the              Tracing will also be done on the                 ❑ K-8 Centers
 student has direct           identiﬁed sibling(s).                            ❑ Senior High School
    contact with

                                                   25
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 44 of
                                        102

          COVID Positive Cleaning Protocol




Sanitation, Cleaning and Disinfection Protocols

Schools will be cleaned daily, focusing on major touch entry points in common areas such as doorknobs, han-
dles, elevator buttons, stairwell railings, light switches and soap dispensers. Custodial staff will disinfect using
proper cleaning products (ADQ, Avistat-D) with microfiber cloths to spray and wipe down objects.

  •   Scheduling and Routine: Throughout the workday, the custodial staff will implement a routine of surface
		    cleaning in the major touch point areas discussed such as restrooms. The staff will, in some cases, report
		    at staggered times depending upon hours of operation to ensure consistent disinfection practices while
		    primary building employees are present. Latter custodial shifts will apply the full standard cleaning of all
		    areas to be ready for the next day. Additional disinfecting will be performed prior to the arrival of district
		    staff in high-traffic areas such as the front office. Custodial staff will wear face masks and gloves.
  •   Deep cleaning: If a positive COVID-19 case is determined within a school or building, district staff will use an
		    approved chemical and fogging machine to disinfect any area deemed appropriate by contract tracing
		    processes. The Vital Oxide sanitizer for spray or foam application is OSHA (Occupational Safety and Health
		    Administration), WHMIS (Workplace hazardous Materials Information System) and GHS (Globally
		    Harmonized System of Classification and Labeling of Chemicals) compliant.
  •   School closures: School closures due to cleaning or positive cases will be determined on a school by
		    school basis and appropriate protocols with be followed.

Shared Responsibilities

Teachers and students must work together with custodial staff to promote a clean and healthy environment for
everyone within each building. Each classroom will have additional sanitation stations that will include gloves
and disinfectant wipes. Students and teachers shall wipe down any community or high-touch areas after each
class to reduce exposure for the next classroom.
                                                       26
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 45 of
                                        102

Field Trips and Mass Gatherings

In order to stay committed to the health and safety of our students and staff, field trips and mass gatherings will
not be permitted until further notice. Field trips will not be scheduled until further notice in order to promote
social distancing and follow proper safety guidelines. Extracurricular activities and school-based clubs will also be
limited and virtual platforms will be recommended when feasible.




Athletics

Our district developed an athletics task force to discuss safe and measured processes to continue athletic ac-
tivities in our campuses. Our district is guided by the Florida High School Athletics Association (FHSAA). We will
utilize all considerations in planning for the upcoming fall season.

  • Phased implementation: Our district is currently in a phased implementation process depending on FHSAA
		 guidance. This includes athletics, band, JROTC and color guard. As of June 29th, safety protocols include:
			 ~ The maximum number of student-athletes is capped at 40.
			 ~ Students and coaches shall be socially distanced.
			 ~ Use of weight rooms and gymnasiums are allowed with social distancing in mind.
			 ~ Groups remain the same each day to limit exposure
			 ~ Student-athletes must bring their own water bottles and towels. The use of water fountains, water
				 coolers and water cows are not permitted.
			 ~ Locker rooms are not available or open.
			 ~ Only one restroom will be available.
			 ~ No spectators allowed.

Our district will make a determination on all fall sports and extracurricular activities based on guidance from the
Florida High School Athletics Association. A communication plan is in place to ensure that students, staff, families
and the community is informed of each decision that is made by the district.
                                                         27
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 46 of
                                        102

Wellness Education for All

Hillsborough County Public Schools has been working closely with our local health department as well as the
Florida Department of Health to monitor COVID-19 cases in our area. We are collaborating with medical officials,
business leaders, teachers, school administrators, the Hillsborough Classroom Teachers Association, Hillsbor-
ough School Employees Federation, and families to help guide our decision making around protocols and guide-
lines to ensure the safety of our entire district.

It is imperative that we educate our learners, staff and community about health and safety measures to slow the
spread of COVID-19 within our schools. Our district stands ready to reach our learners using:

  •   Signage within schools to promote proper hygiene and social distancing
  •   A landing page dedicated to updated information for students and staff regarding COVID-19 developments:
		    HillsboroughSchools.org/Reopening
  •   Instructional videos for students and staff detailing changes in school operations and instructional models
		    that will be shared via web page, Parent Link, and all district social media platforms
  •   Increased partnership with local and national media outlets to share district’s plans and overall school
		    experience.
  •   Provide flyers for students and families on COVID-19 protocols and instructional models including virtual
		    options
  •   Regular digital newsletter updating families on the latest information for school reopening sent through
		    Parentlink.
  •   Radio and media ads targeting families to educate regarding virtual options for the fall




                                                       28
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 47 of
                                        102

            Reopening Hillsborough County
                   Public Schools
       How Will School Look Different in Returning for
              the 2020–2021 Academic Year?

                          Students                 Administration, Faculty, & Staff                 Visitors

Differences     • Students will be required        • Staff members will be assigned      • All visitors will be by ap-
in Arrival to     to wear masks on all school        to stations for greeting students     pointment only.
Campuses          buses and will be socially         and checking for wearing            • All visitors must wear a
                  distanced where possible.          masks and for general wellness.       mask before entering
                • Upon arrival to campus,          • Staff members will be provided        school campuses. If they do
                  whether by bus, car, bicycle,      masks to give to all students         not have a mask, one will be
                  or walking, students will          who arrive on campus without          provided.
                  be greeted and checked for         a mask.                             • All visitors will be screened
                  having a mask in place and       • Staff members will be assigned        for wellness, inclusive of a
                  for general wellness.              to hallway monitoring, to             temperature check.
                • If students do not have a          ensure social distancing and        • School offices will limit the
                  mask upon arrival, they will       students walking on the right-        number of visitors in the
                  be provided with a dispos-         hand side of all hallways.            waiting area, in compliance
                  able mask before entering        • Staff members will be tempera-        with social distancing.
                  campus.                            ture checked upon arrival to          All visitors exceeding the
                • Students who exhibit signs         each campus.                          number to safely ensure
                  of illness will be sent to the                                           social distancing will need
                  school clinic.                                                           to wait outside of the school
                • Specific single-door entry                                               offices.
                  points will be established                                             • Parents will be directed in
                  for each mode of arrival                                                 proper student drop-off,
                  (bus, car, bicycles and                                                  and will not be permitted to
                  walkers), with guidance for                                              walk their children to class.
                  students to enter and walk
                  on the right-hand side of
                  all hallways and to social
                  distance where possible.


Differences • Students will be provided            • Teachers and staff members
in Breakfast  with a Grab-and-Go boxed               will facilitate breakfast in the
              breakfast and will be per-             classroom where possible.
              mitted to eat in classrooms
              where available.



                                                            29
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 48 of
                                        102


                         Students                Administration, Faculty, & Staff              Visitors

Differences   • Student stations will be      • Teachers will modify instruc-       • Visitors will not be permit-
in              spaced 6 feet apart where       tion to facilitate students being     ted in classrooms.
Classrooms      possible, to ensure social      spaced 6 feet apart for social
                distancing.                     distancing.
              • Extraneous furniture will be • Teachers will instruct students
                removed from classrooms         on the proper techniques and
                when storage is available,      expectations for sanitizing stu-
                in order to maximize social     dent stations, common touch
                distancing.                     points, and supplies.
              • All classrooms will be sup-   • Teachers will model wearing
                plied with sanitizing sta-      face coverings at all times and
                tions, for frequent cleansing   will guide students on the
                of student stations and         importance of wearing face
                common touch points.            coverings as well.
              • Students will be trained in
                rituals and routines for san-
                itizing their work stations,
                common touch points, and
                supplies upon leaving the
                classroom.
              • Students will be required to
                wear masks throughout the
                school day.


Differences   • Students will be directed to     • Staff members will be assigned • Visitors will not be permit-
in Common       walk on the right-hand side        to hallway monitoring, to en-      ted in common areas.
Areas           of the hallways at all times.      sure social distancing and stu- • Parents will not be permit-
              • Students will be directed to       dents walking on the right-hand    ted to have lunch with their
                enter and exit common ar-          side of all hallways, as well as   children.
                eas through different doors        entering and exiting correct
                where possible.                    doorways.
              • Class changes and dismiss-       • Staff members will escort
                als will be staggered when         students to common areas
                possible, to enforce social        when possible, to ensure social
                distancing and prevent             distancing and prevent hallway
                hallway congregating.              gatherings.
              • All Electives, P.E., Art, and    • Teachers of P.E., Art, Music, and
                Music classes will maintain        Electives will maintain social
                social distancing where            distancing between student
                possible, and will not             stations where possible and
                include any contact sports         will not lead students in contact
                or activities, and will not be     sports or activities.
                sharing equipment.               • Cafeteria staff will enter student
              • Students will not be chang-        numbers on keypads, in order
                ing clothes for P.E. and
                                                         30
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 49 of
                                        102


                          Students               Administration, Faculty, & Staff               Visitors


Differences     will not be utilizing locker       to move student lines more       • Visitors will not be permit-
in Common       rooms.                             rapidly.                           ted in classrooms.
Areas (Cont.) • Lunches will be Grab-and-        • Staff members will be assigned
                Go boxed meals, to move            to cafeteria monitoring, to en-
                student lines more rapidly,        sure social distancing, and will
                and to prevent serving and         provide and monitor classroom
                sharing of food.                   and outdoor lunches where
              • Students will not use the          available.
                keypads for entering stu-        • Staff members shall model
                dent numbers.                      wearing face coverings to
              • Students will be social dis-       promote proper and healthy
                tanced in cafeteria seating        protocols.
                where possible, and class-
                room and outdoor seating
                will be provided where
                available.
              • Students will be required
                to wear masks before and
                after eating.


Differences      (See “Deciding on an                                                  (See “Deciding on an
in               Instructional Model”)            (See “Deciding on an                  Instructional Model”)
Instructional                                      Instructional Model”)
Delivery



Differences     • Dismissal times will be                                            • Visitors and parents will not
in Dismissal      staggered where possi-         • Staff members will be assigned      be permitted out of their
                  ble, and students will be        to hallway monitoring and           vehicles during dismissal
                  escorted to single points        escorting students, to ensure       procedures.
                  of exit for buses, cars, and     social distancing, students
                  bicycles/walkers.                walking on the right-hand side
                • Social distancing will be        of all hallways, and exiting
                  maintained while exiting         through the proper doorways.
                  campuses.                      • Staff members will be required
                • Students will be required        to model wearing masks at all
                  to wear masks as they exit       times.
                  campuses and while they
                  ride on buses.




                                                         31
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 50 of
                                        102

                          Exceptional Education




Exceptional education students will continue to receive a high-quality education in alignment with a learner’s
Individual Educational Plans (IEPs). The Hillsborough County Public Schools Department of Exceptional Stu-
dent Education is committed to addressing the individual needs of students with disabilities (SWD). Our district
will provide training, resources and tools to support IEP teams in determining the needed services. For families
choosing eLearning, the IEP team will meet to ensure that the district’s online program is individualized for each
student in the eLearning environment. Special education and related services as identified in the IEP during
eLearning may be provided in a variety of ways including the use of telephone calls, instructional support ma-
terials, internet based or virtual lessons and/or virtual therapies, and other available distance-based learning
approaches.

Our district will take the following actions to ensure the needs of students are addressed:

  •   Teachers and administrators will review students’ baseline data in order to determine present level and
		    learning gaps.
  •   Educators will review student’s progression toward IEP goals and objectives.
  •   Determine any need for additional supports or services to remediate gaps
  •   Ensure delivery of services and supports through extended learning opportunities as necessary.
  •   Progress monitoring assessments may be conducted utilizing diagnostic assessments and
		    curriculum-based measures.
  •   Schedule and hold all meetings and complete all evaluations that were postponed due to requirements of
		    social distancing for in-person meetings.
  •   Provide ongoing communication and collaboration with parents.
  •   Hold IEP team meetings, including parents and all appropriate IEP team members to conduct annual
		    reviews, revisions and eligibility staffing. These may take place utilizing Zoom or telephone conference calls.
		    Teams may meet in-person if CDC guidelines allow.

                                                         32
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 51 of
                                        102

Social Distancing

Students will be socially distanced to the greatest extent possible. When it is not possible to socially distance,
students should engage in more frequent hand washing and wear masks/face covering.

Personal Protective Equipment

Understanding that there may be students, due to the nature of their disabilities, who will not be able to wear a
mask/face covering, staff in those cases may wear a mask and face shield. Therapists, teachers and other staff
working with students who are Deaf/Hard of Hearing, will need to wear a shield and not a mask to ensure proper
communication. Shields will also be used by Speech and Language Therapists when providing speech therapy.

Student Instructional Components

Social narratives, a tool for teaching a skill that presents information in an understandable and repeatable way,
and visuals will be provided to staff upon return to school and will be included in instruction. These social nar-
ratives will be focused on developing an understanding of social distancing and safety protocols. Visuals will be
provided for lining up, washing hands, and wearing a mask/face covering. These routines will be practiced during
the school day.




Equipment and Material Cleaning

Where possible, students should have individual sensory items and classroom tools (e.g. pencils, crayons, etc.)
These items should be in separate containers. If items or equipment must be shared, cleaning of equipment must
occur between students. Time for cleaning must be planned for between activities.

Sensory/Cool Down/Therapy Spaces

Ball pits and tunnels need to be removed as they cannot be cleaned between students. If more than one student
is in the room, students must be socially distanced. Refrain from sharing equipment to the maximum extent pos-
sible. Equipment including standers and other positioning devices must be cleaned between students following
the proper cleaning protocol.
                                                         33
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 52 of
                                        102

         Deciding on an Instructional Model
In early June, the district conducted a parent survey as part of a comprehensive plan to determine the overall
pulse for returning to school in August. After a review of the survey results, families made it clear that at the very
least they wanted a choice that represented an opportunity to keep their child home while the pandemic contin-
ued to impact our community. As a result, Superintendent Davis worked with his leadership team to develop a
reopening plan incorporating input from all stakeholders with student and staff safety as the priority.

Our intent has always been to bring students back to school full-time as we believe that the most ideal education-
al experience for most children is to be in front of a teacher. However, we would never intentionally jeopardize
the safety and health of students and staff, and by extension, our families. This Reopening Plan remains fluid and
will be updated strategically depending on the status of the coronavirus spread throughout our community in the
coming weeks. It is impossible to predict what the spread may be like in our community in August.

The models we examined covered a full continuum of designs and costs ranging from all students returning to
school full-time, to a blended face-to-face and remote learning, to a complete closure like we experienced this
past spring. Embedded within Model A are options for full-time remote learning that includes eLearning (school-
based remote instruction) or enrollment in Hillsborough Virtual K-12.

As a result of the Executive Order #20-114 issued from the Florida Department of Education, all districts are
mandated to offer a five day per week onsite option to students in the fall. In partnership with the Department of
Health and other medical partners, the district opted to implement Model A to allow parents the flexibility to se-
lect one option that best fits their learner’s academic needs. (traditional classroom instruction, eLearning, or Hill-
sborough Virtual K-12). Each learning option within Model A is presented in the Instructional Learning Options
table below, with descriptors highlighting the differences between traditional face-to-face instruction, eLearning
instruction, and Hillsborough Virtual K-12.




                                                          34
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 53 of
                                        102

                  Differences:
     Traditional Instruction vs. eLearning
                 Traditional (Brick & Mortar) Instructional Delivery
Overview

  1. District adopted curriculum with lessons developed and taught by classroom teachers
  2. Remain enrolled in your 2020-2021 assigned school and keep your school choice seat
  3. Traditional, in-person, face-to-face for grades PK-12 learning following the regular student schedule and
		 student calendar (180 days of instruction) and bell times
  4. Follow and adhere to all 2020-2021 HCPS school building health and safety protocols and Code of
		 Student Conduct




What to Expect For Students:

  • Students will physically come to their school for their learning
  • Students will physically see and interact with their teacher(s) and classmates and follow their class/course
		 schedule each day
  • Assignments, activities and classroom-based assessments will be developed and conducted by their teachers
  • ESE, ESOL and Gifted services will occur as outlined in student-specific plans
  • All students will be expected to complete and submit assignments as determined by the assigned teacher
  • Code of Student Conduct and traditional school expectations remain in effect
  • All students will follow the assessment calendar and participate in all local and state assessments
			 ~ Students and families must review wellness to ensure students are well and symptom-free prior to
				 coming to school each day
			 ~ Students and families need to adhere to all expectations to ensure the safety of all students, families
				 and employees
                                                          35
      Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 54 of
                                           102

			 ~ Collaborative activities may look different or be lessened to ensure the safety and wellbeing of the
				 school community.
			 ~ Classroom spaces will be arranged to maximize social distancing and minimize any shared items.
			 ~ Lunch schedules will be modified to maximize social distancing
			 ~ Large group gatherings will be reduced
			 ~ Parent meetings and/or conferences will be scheduled to occur virtually, until it is deemed appropriate to
				 have larger number of individuals on campus


What to Expect For Teachers and Staff:

  • Teachers and instructional support staff report each day to lead and support instruction in their assigned
		 classrooms
  • Teachers develop and implement daily lesson plans for grade-level, standards-based instruction for student
			 ~ Teachers and instructional support staff differentiate and adjust instruction to meet the individual needs
				 for student learning
			 ~ Teachers provide student make-up work, flexibility and support if they are out of school for any reason




                                eLearning Instructional Delivery
eLearning Overview

  •   eLearning students will maintain their enrollment status at their brick and mortar schools
  •   eLearning students will attend school online during regular school hours and follow a standard school
		    schedule. (Example schedule below)
  •   Teachers will teach “live” each day with students daily utilizing web conferencing technology
  •   Teacher-designed lessons are delivered through Canvas
  •   Students can return to their school campuses second semester if they so choose. Students who are not
		    demonstrating adequate
                                                        36
      Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 55 of
                                           102

  •   Wrap-around support services provided for students (e.g. Counseling Services, Therapies, and Mental Health)
		    on campus or remotely as appropriate
  •   eLearning is not an option for Voluntary Prekindergarten (VPK) Program and Head Start/Early Head Start
		    Programs
  •   Electronic devices will be available for check out at the school site, if needed
  •   eLearning courses will be designed to ensure rigor matches the traditional classroom setting
  •   Standards have been prioritized in the scope and sequence of instruction to support students as they enter
		    the next grade, course level
  •   High-quality curriculum and learning experiences are being designed that can be implemented in both the
		    traditional and eLearning model
  •   The exact course offerings by school will be solidified by the student’s school
  •   Dual Enrollment courses will be available through the Traditional and eLearning settings as well through
		    Hillsborough Community College (HCC)
  •   Our district will follow the procedures outlined by Hillsborough Community College (HCC) including the use
		    of a Canvas course in each DE course. HCC has determined that courses taken at HCC will be virtual for the
		    1st semester
  •   Each course is aligned to Florida State Standards and the scope and sequence has been adjusted and
		    developed to support the prioritization of essential standards and to support the acceleration of potential
		    unfinished learning from previous grades standards




What to Expect For Students:

  • All assignments, activities and classroom-based assessments will be developed and facilitated by assigned
		 by teacher
			 ~ All students will be expected to complete and submit assignments as determined by the assigned teacher
			 ~ Code of Student Conduct and all technology expectations remain in effect
			 ~ All students will follow the assessment calendar and participate in all local and state assessments.
			 ~ Each morning, students are expected to be present and engage in virtual instruction each day within the
				 designated schedule (see sample schedules below)
  • All students will be expected to adhere to daily attendance guidelines, log in and attend class during the
		 designated times
                                                        37
      Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 56 of
                                           102

  • Students will access their curriculum and assignments via Canvas Learning Management System
				 ~ Students will utilize Zoom for viewing live-lessons, meetings, and small group instruction
  • Parent meetings and/or conferences will be scheduled to occur virtually, until it is deemed appropriate to
		 have larger numbers of individuals on campus
  • Students who need a device will be issued one to engage in digital learning
  • Students will also be issued any associated materials such as textbooks, art supplies, musical instruments,
		 and other necessary materials where possible


What to Expect For Teachers and Staff:
  •   All teachers have access to professional learning to prepare them for the 2020-2021 school year
  •   Growing with Canvas Course 2.0 (self-paced eLearning course) will be offered during the summer,
		    pre-planning week, and beyond for instructional staff to enhance knowledge of Canvas tools and applications.
  •   Summer professional development will be offered virtually with session facilitators focusing on important
		    teaching and learning topics related to the 20-21 instructional models: blended learning, synchronous
		    learning, Achieve 3000, iReady, SIPPS, digital tools and platforms, etc.
  •   New Teacher Induction will be provided virtually and will be provide onboarding and content supports
  •   All professional development will be structured, organized, and maintained to provided easy access to
		    relevant PD, resources, and tools related to pre-planning PD, and other relevant professional development
		    offered throughout the year.
  •   Guidance and resources will be shared with administrators for them to assist teachers in course development.
  •   Training will be available during pre-planning week for elective or specialized area teachers to work through
		    course development.
  •   During pre-planning week, District office hours and support teams will be available to teachers who are
		    designing their own courses for unplanned check-ins and scheduled appointments.
  •   Depending on the model of delivery (traditional or eLearning), each teacher will have the ability to adapt and
		    adjust the core resources to meet the setting and needs of their students.
  •   Teachers will be expected to provide “live” instruction via web conferencing throughout the school day




                                                         38
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 57 of
                                        102

eLearning Parental Guidance
  • Make sure your student understands the work expectations for eLearning
  • Maintain a daily routine around school and schoolwork
  • Keep in touch with your teacher(s) on a regular basis and let them know if your child is experiencing specific
		challenges
  • Talk to your child regarding how they are feeling during this stressful time
  • Perorm check-ins with your child regarding academics, this includes checking their Canvas course to ensure
		 the option chosen for your child is appropriate
  • Seek assistance from school staff for emotional or mental health if needed
  • Reach out to your child’s teacher or student services staff with any changes that may impact your child’s
		 success. This way we can develop supports for your child prior to the first day of school.
  • Parents may be required to pick up instructional materials (textbooks, etc.) for eLearning. Schools will contact
		 parents if this is the case for their student




eLearning Administrator Guidance

  • All administrators have access to professional learning to prepare them for the 2020-2021 school year
  • All administrators will complete the “Growing with Canvas 2.0” training prior to the end of pre-planning work
		 to support them in enhancing their eLearning courses
  • Any deviation from the use core courses, must be pre-approved by the Assistant Superintendent for
		 Curriculum and Instruction or Assistant Superintendent for Teaching and Learning. The school will be
		 responsible for developing and submitting an addendum to the District Continuity Plan including:
			 ~ Identification of core resources used for each content area
			 ~ Timeline for course completion (all courses must always have a minimum of 9 weeks of content and
				 student learning activities available)
			 ~ Alignment of courses using Hillsborough Canvas Instructional Frameworks templates
                                                        39
      Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 58 of
                                           102

  •   Courses with higher enrollment will be prioritized for district development by curriculum teams
  •   Courses with low enrollment or that are only available at a few schools will be built by the teacher
  •   Courses built at the school level will be required to have 9 weeks of content available by the first day of school
  •   When a decision is made to develop a district course and/or use a course developed by another provider, all
		    teachers will utilize this course
  •   Administrators should utilize district provided checklist, timeline, check-in protocols and resources to
		    monitor courses throughout the year
  •   Recommendations will be made to schools on the elimination of superfluous electives, but schools have the
		    autonomy to determine if they want to offer the course and build the Canvas course
  •   Administrators working with teachers who do not have a district developed course, and who are interested in
		    working on developing Quarter 1 resources prior to the school year, can reach out to their district content
		    specialist. Dependent upon the number of teachers who interested in getting started, we are currently
		    seeking funding to support this head start
  •   Time should be saved during pre-planning week for teachers of elective and specialized area courses to work
		    on Canvas course building



             Hillsborough Virtual K-12 (HVK12) Instructional Delivery
Hillsborough Virtual K-12 is an independent, fully accredited, and flexible public-school option in the HCPS sys-
tem. Unlike a traditional classroom or eLearning model, the curriculum and content are designed specifically for
a true, virtual format and front-loaded at the beginning of the course. It is available 24/7 online, for which stu-
dents create a daily work schedule to ensure completion of coursework in a regular semester timeframe.

HVK12 Overview

  •   HVK12 is a school choice option in which students learn in a digital space using a web-based curriculum with
		    highly qualified teachers from Hillsborough County
  •   HVK12 students will withdraw from their brick and mortar school and enroll full time in the virtual program
  •   Students can re-enroll at their brick and mortar school in the second semester if they so choose
  •   HVK12 students will have flexibility when they complete their work and are not tied to a specific bell schedule
  •   HVK12 students follow the same school calendar as brick and mortar sites
  •   HVK12 is a “flipped classroom” environment in which students have access to the entire curriculum up front
		    and are given a weekly set of assignments
  •   Students will have access to the content and curriculum 24/7
  •   Teachers will offer one “live” session per week with students utilizing web conferencing technology
  •   Teacher-designed lessons are delivered through Canvas for K-5 and through FLVS for 6-12
  •   Wrap-around support services provided for students (e.g. Counseling Services, Therapies, and Mental Health)
		    remotely as appropriate
  •   All students attending HVK12 will have access to many accommodations that naturally occur in the virtual
		    setting. In addition, HVK12 may be able to provide additional accommodations and services per a student’s
		    IEP or Section 504 Plan if the accommodation(s) is/are applicable to the online educational environment.
		    Please note that some accommodations and services may not be possible to implement in the HVK12 online
		    educational setting
  •   HVK12 is not an option for Voluntary Prekindergarten (VPK) Program, Head Start/Early Head Start Programs,
		    and iPeeps
  •   Electronic devices will be available for check out at our site, if needed for students that qualify for free and
		    reduced lunch
                                                            40
      Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 59 of
                                           102

  •   HVK12 courses will be designed to ensure rigor matches the traditional classroom setting
  •   Standards have been prioritized in the scope and sequence of instruction to support students as they enter
		    the next grade, course level
  •   Dual Enrollment courses will be available through HVK12 in conjunction with Hillsborough Community
		    College (HCC)




  •   Our district will follow the procedures outlined by Hillsborough Community College (HCC) including the use
		    of a Canvas course in each DE course. HCC has determined that courses taken at HCC will be virtual for the
		    1st semester
  •   Each course is aligned to Florida State Standards and the scope and sequence has been adjusted and devel-
		    oped to support the prioritization of essential standards and to support the acceleration of potential
		    unfinished learning from previous grades standards

What to Expect for Students:

  • All assignments, activities and classroom-based assessments will be developed and/or facilitated by assigned
		 teacher(s)
			 ~ All students will be expected to complete and submit assignments as determined by the assigned
				 teacher(s) electronically on a weekly basis
			 ~ Code of Student Conduct and all technology expectations remain in effect
			 ~ All students will follow the assessment calendar and participate in all local and state assessments in
				 person. Students will report to D.W. Waters for testing
  • Students are expected to complete the work at their own pace throughout the week and submit all required
		 assignments by the end of the week
  • Students will access their curriculum and assignments via Canvas Learning Management System for K-5th
		 grade and via FLVS for 6th-12th grade.
			 ~ Students will utilize Zoom for viewing live-lessons, meetings, and small group instruction
  • Parent meetings and/or conferences will be scheduled to occur virtually, until it is deemed appropriate to
		 have larger numbers of individuals on a campus

                                                         41
      Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 60 of
                                           102

  • Students in K-5 will be issued consumables for math, science, social studies and will have access to all other
		 content and curriculum electronically 24/7
  • Students in 6-12 will have access to all content and curriculum electronically 24/7




What to Expect for Teachers and Staff:

  •   All teachers have access to professional learning to prepare them for the 2020-2021 school year
  •   Growing with Canvas Course 2.0 (self-paced eLearning course) will be offered during the summer,
		    pre-planning week, and beyond for instructional staff to enhance knowledge of Canvas tools and applications
		    for our K-5 teachers and an FLVS professional development for our 6-12 teachers
  •   Summer professional development will be offered virtually with session facilitators focusing on important
		    teaching and learning topics related to the 20-21 instructional models: blended learning, synchronous
		    learning, Achieve 3000, iReady, digital tools and platforms, etc.
  •   All professional development will be structured, organized, and maintained to provided easy access to
		    relevant PD, resources, and tools related to preplanning PD, and other relevant professional development
		    offered throughout the year
  •   Each teacher will have the ability to adapt and adjust the core resources to meet the setting and needs of their
		    students
  •   Teachers will be expected to provide one “live” lesson via web conferencing throughout the week
  •   Teachers will be expected to respond to students’ and families’ communication within 24 hours and provide
		    feedback on assignments with 48 hours.


                                                          42
      Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 61 of
                                           102



HVK12 Parental Guidance

  • Parents are expected to serve as the learning coach and to facilitate the learning schedule
  • Typically, elementary students require daily guidance from their parent or guardian, while middle and high
		 school students need guidance on a weekly basis
  • Make sure your student understands the work expectations for HVK12
  • Maintain a routine around school and schoolwork
  • Keep in touch with your teacher(s) on a regular basis and let them know if your child is experiencing specific
		challenges
  • Talk to your child regarding how they are feeling during this stressful time
  • Perform check-ins with your child regarding academics. This includes checking the Canvas course to ensure
		 the option chosen for your child is appropriate
  • Make sure you do check in with your child about emotional and mental
  • Seek assistance from school staff for emotional or mental health if needed
  • Reach out to your child’s teacher or student services staff with any changes that may impact your child’s
		 success. This way we can develop supports for your child prior to the first day of school
  • Parents may be required to pick up instructional materials (elementary only) for HVK12.
  • Parents may be required to provide transportation to D.W. Waters for local and state assessments


HVK12 Administrator Guidance

  • All administrators have access to professional learning to prepare them for the 2020-2021 school year
  • All administrators will complete the “Growing with Canvas 2.0” and “FLVS Virtual Leadership” training prior to
		 the end of preplanning work to support them in enhancing their HVK12 courses
  • Any deviation from the use core courses, must be pre-approved by the Assistant Superintendent for
		 Curriculum and Instruction or Assistant Superintendent for Teaching and Learning. The school will be
		 responsible for developing and submitting an addendum to the District Continuity Plan including:
			 ~ Identification of core resources used for each content area
			 ~ Timeline for course completion (all courses must always have a minimum of 9 weeks of content and
				 student learning activities available)
			 ~ Alignment of courses using Hillsborough Canvas Instructional Frameworks templates

  •   Courses built at the school level will be required to have 9 weeks of content available by the first day of school
  •   When a decision is made to develop a district course and/or use a course developed by another provider, all
		    teachers will utilize this course
  •   Administrators should utilize district provided checklist, timeline, check-in protocols and resources to
		    monitor courses throughout the year
  •   Recommendations will be made to schools on the elimination of superfluous electives, but schools have the
		    autonomy to determine if they want to offer the course and build the Canvas course
  •   Administrators working with teachers who do not have a district or state developed course, and who are
		    interested in working on developing Quarter 1 resources prior to the school year, can reach out to their district
		    content specialist. Dependent upon the number of teachers who interested in getting started, we are
		    currently seeking funding to support this head start
  •   Time should be saved during pre-planning week for teachers of elective and specialized area courses to work
		    on Canvas course building
                                                           43
  Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 62 of
                                       102

Sample Elementary School Schedule




                                         44
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 63 of
                                        102

Sample Middle School Schedule
eLearning students should expect to receive ‘live’ instruction at the beginning of each period. Depending on the
content, after the initial ‘live’ instruction, students may transition to independent work, collaborative group work
and/or asynchronous learning.




                                                         45
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 64 of
                                        102

Sample High School Schedule
eLearning students should expect to receive ‘live’ instruction at the beginning of each period. Depending on the
content, after the initial ‘live’ instruction, students may transition to independent work, collaborative group work
and/or asynchronous learning.




                                                         46
      Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 65 of
                                           102

English Learners

Hillsborough County is committed to continuing to identify and serve English Language Learners. Whether in-per-
son or an alternative format, ESOL strategies will continue to be implemented by instructional and support staff
to address the academic and language needs of ELL students. In addition, ESOL teams will continue to partner
with families and schools to provide resources and tools to ensure the academic success of ELL students.

Schools will establish a line of communication with students and their families to regularly communicate about
assignments, curriculum, or other critical updates, and to ensure their needs are being met. Translation technol-
ogy and/or interpretation services for families will be in place. The District will assess the accessibility needs of
learning platforms and resources for ELL parents and students (language, hardware, Internet access, etc.), and
provide necessary guidance, instructions, and support to students and their families in their home language as
feasible.

ELL students will be provided daily opportunities to speak and be formatively assessed on a regular basis
throughout the Elearning curriculum. These opportunities may be provided over the phone with the educator, re-
mote interactions with classmates, or other means. Parents will be engaged to ensure their children read, speak,
write, and listen in their native language as well as English every day. Texts, videos, and writing assignments will
be strategically selected so that ELs can read, listen, and write regularly. Models will be provided to demonstrate
clear criteria for success. Student agency, curiosity, and exploration will be emphasized, and parents will be
provided access to quality multilingual learning resources to supplement learning via electronic, print, and video
formats.

Our focus will be to utilize technology to create a collaborative partnership with teachers in a digital environment.
Using online platforms such as Microsoft TEAMS, Google Voice, or Zoom, you are encouraged to engage teachers
in quality conversations about differentiation of instruction for ELLs, the implementation of appropriate ELL strat-
egies, and providing support as the teacher takes action to systematize virtual classroom learning routines. The
frequency and structure of virtual PLCs should be differentiated to meet the needs of individual teachers.

The ELL Committee, which includes the principal or designee, the parent, an ESOL/English teacher, the school
counselor, the Bilingual Education Paraprofessional, and any other instructional personnel responsible for the
instruction of English language learners, will meet to:

  •   Review and make placement recommendations;
  •   Evaluate continuation of program services to support language acquisition;
  •   Determine eligibility; and
  •   Provide recommendations for programs and access to additional services
  •   Utilizing data obtained from W-APT and WIS screeners; the WIDA Model assessment; the ACCESS for ELLs
		    assessment; report cards; teacher input and observations; semester exams; iReady assessments; progress
		    reports; data obtained from language acquisition programs (Reading Eggs, Exact Path, Imagine Learning); etc.

The placement of English Language Learners (ELLs) is determined by the student’s level of English
proficiency and academic potential based on academic history, transcripts, performance data, language screen-
ing, and/or the district’s age-grade placement policy.

The English for Speakers of Other Languages (ESOL) program model is designed to develop English language
proficiency and academic potential. Instructional services are documented through the ELL student plan.


                                                         47
      Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 66 of
                                           102

English Language Learners who have completed the credits required for graduation but have not met the
2.0 GPA or the state assessment requirements are eligible for a certificate of completion and an additional year
of high school.


Equal Access for English Language Learners

English language learners, including refugees and other immigrants, racial and national origin minority students,
are entitled to equal access to programs and services other than ESOL, such as, but not limited to compensatory,
exceptional, early childhood, career and technical education, adult education, dropout prevention, extended day,
and other supportive services. (Rule 6A-6.0908, F.A.C.)

All written and oral communication between a school district’s personnel and parents of current or former En-
glish language learners will be in the parents’ primary language or other mode of communication commonly
used by the parents, as feasible. English Language Learners will not be subject to disciplinary action because of
their use of a language other than English.


Assessment

The academic progress of English language learners in reading, writing, science, and mathematics are deter-
mined through appropriate formal and informal assessments and through differentiation of instruction. English
language learners are required to participate in the state annual English language proficiency assessment to
evaluate their annual progress in English language acquisition.

Assessment results will be used by schools to evaluate the progress of individual students. When indicated, eval-
uations will result in appropriate adjustments, modifications, and improvements of each individual ELL student
plan and, if necessitated, an ELL Committee convened to make decisions and recommendations.

The ELL committee will convene whenever substantive changes in an individual ELL student plan are required
and will utilize data obtained from W-APT and WIS screeners; the WIDA Model assessment; the ACCESS for ELLs
assessment; report cards; teacher input and observations; semester exams; iReady assessments; progress re-
ports; data obtained from language acquisition programs (Reading Eggs, Exact Path, Imagine Learning); etc., to
make determinations.

English language learners are eligible for accommodations on all state, district and site-based assessments.

Placement recommendations for English language learners will be made by the ELL committee upon review of
the following criteria:

  •   Results of the W-Apt or WIS screener;
  •   Academic performance;
  •   Standardized assessments and language acquisition data;
  •   Number of years the student has been enrolled in the ESOL program with consideration for interrupted
		    instruction;
  •   The student’s English language proficiency; and
  •   Attendance and retention data.

Promotion or retention decisions may not be made for English language learners based solely on a score on any
single assessment instrument, whether such assessment instrument is part of the statewide assessment program
or of a particular district’s formal assessment process. (Rule 6A-1.09432, F.A.C.)

                                                        48
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 67 of
                                        102

ELL Transfer Students

The following placement guidance applies to students transferring to the district. At the start of the academic
year, students without interrupted education are placed in the appropriate consecutive grade level. Throughout
the academic year, students entering from another site in the district are placed in the concurrent grade-level.
Students entering from another site in the state or from out-of-state will be screened for ELL program services
eligibility and placed in the concurrent grade-level.

The bilingual guidance services team will evaluate documents and recommend placement in cases where aca-
demic records are incomplete or require translation. Foreign-born students without records are placed according
to their age prior to September 1 of the current academic year.




                                                       49
   Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 68 of
                                        102

                       Differences Between:
                     eLearning & Hillsborough
                           Virtual School
eLearning                                                        Hillsborough Virtual K-12

Students are assigned to their brick-and-mortar                  Students are assigned to Hillsborough Virtual K-12 full-
school, and to teachers within that school                       time, and to teachers within Hills-borough Virtual K-12

Teachers provide eLearning instruction that follows              Teachers provide a front-loaded semester-long sylla-
their daily face-to-face classroom instruction. Class-           bus for students, to enable them to work at their own
room hours and office hours are specified on a daily,            pace. Correspondence hours with teachers are flexible,
scheduled routine                                                to accommodate student and family schedules

Student work is submitted according to the daily                 Student work is submitted at the student’s own pace,
schedule for assignments, activities, and assessments            providing all assignments, activities, and assessments
                                                                 are completed by the end of each week. (Note: stu-
                                                                 dents may complete at a more rapid pace, providing
                                                                 teachers verify mastery of standards)

Curriculum is provided through Canvas, and is directly           Curriculum is provided through Canvas at the elemen-
aligned with the teachers’ face-to-face, daily class-            tary level and is designed by Hills-borough Virtual K-12
room instruction                                                 teachers as an entirely web-based instructional path-
                                                                 way. Secondary curriculum is a franchise of the Florida
                                                                 Virtual School (FLVS).

Parents are encouraged to support their children’s               Parents are encouraged to serve as the learning coach
pacing as set forth by their teachers and to provide a           and to facilitate their children’s daily routine as best
home setting which is conducive to the classrooms’               suits the family schedule
daily schedule

eLearning is designed for students who wish to be                Hillsborough Virtual K-12 is designed for self-moti-
connected to classroom teachers within their assigned            vated students who wish to work at an independent
brick-and-mortar schools, thereby enabling them to               pace, with flexibility in hours and scheduling of work
work at a prescribed pace with their peers. It is a prime        completion. It is a prime option for students who need
option for students who wish to stay connected to                to accommodate a work schedule, college and ca-
their school classmates and school community                     reer-minded students, homeschool students, hospi-
                                                                 tal-homebound students, children in military families,
                                                                 amateur athletes, students who wish to accelerate
                                                                 their learning path, as well as students in need of
                                                                 credit recovery




                                                            50
     Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 69 of
                                          102

    Mental Health Guidance for Reopening
Students, staff and families have encountered additional stress and anxiety over these past few months. Hillsbor-
ough County Public Schools has provided a Mental Health Hotline to help families deal with the added uncertain-
ty of COVID-19 and eLearning.
That hotline will remain in place. The number is 813-272-4787.

Mental Wellness Support
•   Triage needs and provide supports to families and educators
•   Modify schedules as needed for students and staff
•   Ongoing consultation to school-based teams on mental health, threat assessments and suicide assessment
•   Crisis Intervention Team ready for response when needed
•   Enhance partnerships with network of mental health professionals to provide services
•   Provide a blended model of support, inclusive of in-person and virtual deployment of mental health services

Safety and Support
Protecting our teachers and staff is a top priority for the district as we head back to brick and mortar classroom
learning. It will take a partnership of accountability from the staff member, the school and the District to keep our
teachers and staff healthy during this unchartered time.

The District Employee Assistance Program (EAP) is available 24 hours a day, 7 days a week and can be reached at
855-327-6463. EAP is no cost to employees for in-the-moment emotional well-being support as well as for access
to free and confidential counseling sessions.

The District’s employee Wellbeing Program, Wellbeing 4U, remains committed to promoting physical, emotional,
social, and financial well-being of all staff. Wellbeing 4U Champions at schools and district sites provide onsite
support through activities and connection to resources.




                                                         51
 Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 70 of
                                      102

                              Next Steps

Consult district website for latest
information and updated frequently
asked questions: HillsboroughSchools.
org/Reopening
                                                              @
Follow @HillsboroughSch
and @AddisonGDavis on Twitter for
updates


Follow @HillsboroughSch on
Instagram


Join the conversation on the
Hillsborough County Public Schools
Facebook page


Subscribe to our YouTube page:
HCPSVideoChannel
                                        52
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 71 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 72 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 73 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 74 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 75 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 76 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 77 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 78 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 79 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 80 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 81 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 82 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 83 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 84 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 85 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 86 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 87 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 88 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 89 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 90 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 91 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 92 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 93 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 94 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 95 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 96 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 97 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 98 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 99 of
                                     102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 100 of
                                      102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 101 of
                                      102
Case 1:21-cv-22863-KMM Document 41-1 Entered on FLSD Docket 08/24/2021 Page 102 of
                                      102
